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11
                             UNITED STATES DISTRICT COURT
12                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

13
      THERESA SWEET, et al.,
14                                                      No. 3:19-cv-03674-WHA
                        Plaintiffs,
15
16           v.
                                                        JOINT STATUS REPORT
17    MIGUEL CARDONA, in his official capacity
      as Secretary of Education, and the UNITED
18    STATES DEPARTMENT OF EDUCATION
19
                        Defendants.
20
21
22
            The parties submit the following joint status report in accordance with the Court’s March
23
     10, 2021 scheduling order, ECF No. 191 (“March 10 Order”).
24
            On March 31, 2021, Defendants made a production of documents to Plaintiffs that
25
     included: a true and correct copy of the document Bates-numbered DOE00009435, previously
26
     withheld under a now voluntarily withdrawn claim of privilege (March 10 Order ¶ 1(a)); written
27
     recommendations of the Borrower Defense Review Panel (March 10 Order ¶ 1(b)); corrective
28


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 1   action plan documents relating to the recommendations of the Inspector General in its December
 2   2017 report on borrower defense (March 10 Order ¶ 1(c)); and emails as described in subparagraph
 3   1(e) of the March 10 Order. Defendants informed Plaintiffs in writing that, after conducting a
 4   diligent search, Defendants did not locate any “interim procedures to process claims,” as
 5   referenced in a May 4, 2017 memorandum. See March 10 Order ¶¶ 1(d), 4. Consistent with the
 6
     March 10 Order, Defendants will produce a privilege log to Plaintiffs by no later than April 9,
 7
     2021. Id. ¶ 2.
 8
            Pursuant to the March 10 Order, Plaintiffs have until April 16 to review Defendants’
 9
     production and privilege log and “(1) propound any narrowly tailored requests for additional,
10
     specific documents with regard to Requests for Production Nos. 1-4, based on relevant information
11
     contained in the” March 31 production; and “(2) notify Defendants of their intent to challenge
12
     Defendants’ privilege assertion over any specific document or documents contained in the
13
     privilege log.” March 10 Order ¶ 7.
14
15          Additionally, Plaintiffs moved for leave to file a supplemental complaint on March 18,

16   2021. ECF No. 192. That motion requests a hearing date of April 29, 2021. Id. Defendants will

17   either notify the Court that they do not oppose the motion by April 9 or file a brief in opposition

18   on April 16. See March 10 Order ¶ 8.

19          Given the current status of proceedings, the parties respectfully submit that the status
20   conference currently scheduled for April 8, 2021, see March 10 Order ¶ 6, is not necessary at this
21   time. The parties propose filing an additional status report in two weeks (by no later than April
22   19) to report on the status of discovery, including any further document requests from Plaintiffs
23   and whether further briefing will be necessary regarding Defendants’ assertion of privilege over
24   any documents included in the March 31 production.
25
26
     Dated: April 5, 2021                              Respectfully submitted,
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                                                       SARAH E. HARRINGTON
28                                                     Deputy Assistant Attorney General


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